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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                                           )
                                                  )
                                                  )
 CHEE WEI FONG                                    )     Case No. 20-16813-JGR
                                                  )
                        Debtor.                   )     Chapter 11
                                                  )     Subchapter V

                                  CERTIFICATE OF SERVICE


       I hereby certify that on January 19, 2021, I served by prepaid first class mail [or (other
 acceptable means, i.e. via hand delivery] a copy of the Plan of Reorganization for Small
 Business Under Chapter 11 Dated January 4, 2021, Order Setting Hearing on
 Confirmation of Subchapter V Plan and Notice of Deadlines, and Ballot on all creditors, and
 other parties in interest whose votes on the plan are to be solicited contained on the attached list,
 which is a copy of the Court’s Creditor Address Mailing Matrixes for these cases, obtained from
 PACER on January 19, 2021, and, if applicable, other interested parties the movant mailed notice
 at the following addresses:

  Internal Revenue Service                            Securities and Exchange Commission
  PO Box 7346                                         Central Regional Office
  Philadelphia, PA 19101                              1961 Stout Street, Suite 1700
                                                      Denver, CO 80202
  Securities and Exchange Commission                  Commissioner of Securities
  Midwest Regional Office                             State of Colorado
  175 W. Jackson Blvd., Suite 900                     1560 Broadway, Suite 900
  Chicago, IL 60604                                   Denver, CO 80202
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       I further certify that on January 19, 2021, I served by prepaid first class mail [or (other
 acceptable means, i.e. via hand delivery] a copy of the Plan of Reorganization for Small
 Business Under Chapter 11 Dated January 4, 2021, Order Setting Hearing on
 Confirmation of Subchapter V Plan and Notice of Deadlines, and Ballot to all parties in
 interest whose votes on the Plan are not to be solicited as follows:

  Chee Wei Fong                                      US Trustee
  3751 W. 136th Avenue, Unit S2                      Byron G. Rogers Federal Building
  Broomfield, CO 80023                               1961 Stout Street, Suite 12-200
                                                     Denver, CO 80294



                                                                /s/ Teresa White
 Dated: January 19, 2021                                By:

                                                        For Buechler Law Office, L.L.C.
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Label Matrix for local noticing             Dickensheet & Associates                       Great Western Bank
1082-1                                      1501 West Wesley Ave                           Coan, Payton & Payne, LLC
Case 20-16813-JGR                           Denver, CO 80223-4238                          Michael C. Payne, Esq.
District of Colorado                                                                       1711 61st Avenue, Unit 100
Denver                                                                                     Greeley, CO 80634-3046
Tue Jan 19 11:53:23 MST 2021
Quicken Loans, LLC                          US Bankruptcy Court                            American Express National Bank
c/o BFW                                     US Custom House                                c/o Becket and Lee LLP
4004 Belt Line Road, Ste. 100               721 19th St.                                   PO Box 3001
Addison, TX 75001-4320                      Denver, CO 80202-2508                          Malvern PA 19355-0701


American Express Personal Loans             Angry Beavers LLC                              Angry Beavers, LLC
PO Box 650448                               6909 Shannon Ct                                6909 Shannon Court
Dallas, TX 75265-0448                       Loveland, CO 80538-9428                        Loveland, CO 80538-9428



Colorado Department Of Revenue              Edward Klen                                    Extraction Oil & Gas Company
1375 Sherman St.                            6909 Shannon Ct                                370 17th Street
Room 504                                    Loveland, CO 80538-9428                        Suite 5300
Attention Bankruptcy Unit                                                                  Denver, CO 80202-5653
Denver CO 80261-3000

Great Western Bank                          Great Western Bank                             Gunsmoke LLC, Happy Beavers LLC, Armed B
3800 E. 15th Street                         c/o Coan, Payton & Payne, LLC                  697 N Denver Ave
Loveland, CO 80538-8713                     1711 61st Ave., Ste. 100                       Loveland, CO 80537-5143
                                            Greeley, CO 80634-3046


IRS                                         Michael Payne -Coan, Payton & Payne, LLC       Nancy Miller
PO Box 7346                                 1711 61st Ave                                  445 Union Blvd
Philadelphia PA 19101-7346                  Unit 100                                       Suite 209
                                            Greeley, CO 80634-3046                         Denver, CO 80228-1241


Nancy Miller, Esq                           Premier Members Credit Union                   Quicken Loans
445 Union Blvd                              5505 Arapahoe Ave                              PO Box 6577
Suite 209                                   Boulder, CO 80303-1261                         Carol Stream, IL 60197-6577
Denver, CO 80228-1241


Quicken Loans, LLC FKA Quicken Loans Inc.   Richard Weingarten                             Securities and Exchange Commission
635 Woodward Ave.                           1133 Northridge Dr                             Central Regional Office
Detroit, MI 48226-3408                      Erie, CO 80516-9053                            1961 Stout St.
                                                                                           Ste. 1700
                                                                                           Denver CO 80294-1700

Securities and Exchange Commission          Stephen Klen                                   Synchrony Bank
Midwest Regional Office                     11605 Harpenden Ln                             PO Box 960061
175 W. Jackson Blvd.                        Fort Lupton, CO 80621-9603                     Orlando, FL 32896-0061
Ste. 900
Chicago IL 60604-2815

Synchrony Bank                              US Trustee                                     Wells Fargo
c/o PRA Receivables Management, LLC         Byron G. Rogers Federal Building               PO Box 54349
PO Box 41021                                1961 Stout St.                                 Los Angeles, CA 90054-0349
Norfolk VA 23541-1021                       Ste. 12-200
                                            Denver, CO 80294-6004
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Wells Fargo Bank, N.A.                                 Chee Wei Fong                                        (p)JOLI A LOFSTEDT
435 Ford Road, Suite 300                               3751 W. 136th Avenue, Unit S2                        ATTN JOLI A LOFSTEDT TRUSTEE
St. Louis Park, MN 55426-4938                          Broomfield, CO 80023-8149                            PO BOX 270561
                                                                                                            LOUISVILLE CO 80027-5009


Michael J. Guyerson
999 18th St.
Ste., 1230 South
Denver, CO 80202-2414




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Joli A. Lofstedt
Joli A. Lofstedt,Trustee
PO Box 270561
Louisville, CO 80027




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Angry Beavers, LLC                                  (d)Synchrony Bank                                    (u)Edward J. Klen
                                                       c/o PRA Receivables Management, LLC
                                                       PO Box 41021
                                                       Norfolk, VA 23541-1021


(u)Stephen J. Klen                                     End of Label Matrix
                                                       Mailable recipients    33
                                                       Bypassed recipients     4
                                                       Total                  37
